










Opinion issued November 3, 2005











In The
Court of Appeals
For The
First District of Texas




NO. 01–05–00675–CV




BRAD HARRIS, Appellant

V.

CITIBANK (SOUTH DAKOTA) N.A, Appellee




On Appeal from the County Civil Court at Law No. 3
Harris County, Texas
Trial Court Cause No. 828791




MEMORANDUM OPINIONAppellant Brad Harris has neither established indigence, nor paid all the
required fees.  See Tex. R. App. P. 5 (requiring payment of fees in civil cases unless
indigent), 20.1 (listing requirements for establishing indigence); see also Tex. Gov’t
Code Ann. §§ 51.207, 51.941(a), 101.041 (Vernon Supp. 2004-05) (listing fees in
court of appeals); Fees Civ. Cases B(1), (3) (listing fees in court of appeals).  After
being notified that this appeal was subject to dismissal, appellant Brad Harris did not
adequately respond.  See Tex. R. App. P. 5 (allowing enforcement of rule); 42.3(c)
(allowing involuntary dismissal of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The appeal is dismissed for nonpayment of all required fees.  All pending
motions are denied.
PER CURIAM
Panel consists of Justices Nuchia, Jennings, and Hanks.


